              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                          SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                       Plaintiff,        )
                                         )
        vs.                              )     No. 13-05036-01-CR-SW-JFM
                                         )
HUGO RODRIGUEZ,                          )
                                         )
                       Defendant.        )


                       REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count One of the Indictment filed on July

24, 2013.     After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined

that the guilty plea was knowledgeable and voluntary, and that the

offense charged is supported by a factual basis for each of the

essential elements of the offense.       I therefore recommend that the

plea of guilty be accepted and that the Defendant be adjudged guilty

and have sentence imposed accordingly.



Date:     September 10, 2013               /s/ James C. England
                                         JAMES C. ENGLAND
                                         UNITED STATES MAGISTRATE JUDGE




    Case 3:13-cr-05036-MDH     Document 213   Filed 09/10/13   Page 1 of 2
                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




                                   2



    Case 3:13-cr-05036-MDH   Document 213   Filed 09/10/13   Page 2 of 2
